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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

TIFFANY MEEKS                              )        CASE NO. 1:18-CV-2719
                                           )
                                           )
                        PLAINTIFF,         )        JUDGE SARA LIOI
                                           )
v.                                         )
                                           )        ORDER
KEYBANK, N.A., et al.,                     )
                                           )
                       DEFENDANTS.         )


          Upon representation of parties and counsel, as memorialized in the minutes entry from

the telephonic conference held on February 7, 2019, before Judge Sara Lioi that the above

entitled cause of action has been settled between the parties, this case hereby is dismissed. A

final agreed entry, approved by counsel for all parties, shall be filed with the Court on or before

April 12, 2019.

          Any subsequent order setting forth different terms and conditions relative to the

settlement and dismissal of the within action shall supersede the within order. This case hereby is

closed.

          IT IS SO ORDERED.


Dated: February 7, 2019
                                               HONORABLE SARA LIOI
                                               UNITED STATES DISTRICT JUDGE
